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11                       UNITED STATES DISTRICT COURT OF NEVADA
                                     DISTRICT OF NEVADA
12
      UNITED STATES OF AMERICA,                          Case No.: 2:13-cr-00018-JCM-GWF
13
      Plaintiff,                                         PROPOSED ORDER GRANTING KEITH
14                                                       E. GREGORY’S MOTION TO SEAL HIS
      v.                                                 MOTION TO SEAL THE
15                                                       GOVERNMENT’S MOTION TO ADMIT
      LEON BENZER, KEITH GREGORY, et al.,
16                                                       EVIDENCE PURSUANT TO FED. R.
      Defendants.                                        EVID. 404(b)
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19            Before the Court is Keith E. Gregory’s Unopposed Motion to Seal his Motion to Seal the
20    Government’s Motion to Admit Evidence Pursuant to Fed. R. Evid. 404(b). The Court has
21
      reviewed and considered the matter, hereby Orders as follows:
22
              IT IS ORDERED that Keith E. Gregory’s Unopposed Motion to Seal his Motion to Seal
23
      the Government’s Motion to Admit Evidence Pursuant to Fed. R. Evid. 404(b) is granted.
24

25            IT IS FURTHER ORDERED that this Order to Seal shall also apply to all pleadings and

26    exhibits associated with Keith E. Gregory’s Motion to Seal the Government’s Motion to Admit

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 1    Evidence Pursuant to Fed. R. Evid. 404(b), which Motion shall be filed on or before December 20,

 2    2013.
 3                       20th         December
              Dated this _____day of _____________, 2013.
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                                                 United States Magistrate Judge
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